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 8                           UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10                                SOUTHERN DIVISION
11

12   NATALIE LAMBERT,                           Case No. 8:18-cv-01566-JLS (JDEx)
13              Plaintiff,
                                                STIPULATION AND
14        v.                                    PROTECTIVE ORDER
15   UNIREGISTRY, INC., a Delaware
     corporation; SEVAN DERDERIAN,
16
                Defendants.
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     STIPULATION AND PROTECTIVE ORDER                     CASE NO. 8:18-cv-01566-JLS-JDE
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 1         1.      PURPOSES AND LIMITATIONS
 2         Discovery in this action is likely to involve production of confidential,
 3   proprietary or private information for which special protection from public
 4   disclosure and from use for any purpose other than pursuing this litigation may be
 5   warranted. Accordingly, the Plaintiff NATALIE LAMBERT and Defendants
 6   UNIREGISTRY, INC. and SEVAN DERDERIAN (the “parties”) hereby
 7   stipulate to and petition the Court to enter the following Stipulated Protective
 8   Order. The parties acknowledge that this Order does not confer blanket
 9   protections on all disclosures or responses to discovery and that the protection it
10   affords from public disclosure and use extends only to the limited information or
11   items that are entitled to confidential treatment under the applicable legal
12   principles.
13         2.      GOOD CAUSE STATEMENT
14         This action is likely to involve trade secrets, customer and pricing lists and
15   other valuable research, development, commercial, financial, technical and/or
16   proprietary information, as well as personal identifiable information of third-party
17   witnesses and employees, for which special protection from public disclosure and
18
     from use for any purpose other than prosecution of this action is warranted. Such
19
     confidential and proprietary materials and information may consist of, among
20
     other things, dates of birth, social security numbers, salary, medical or health
21
     information, other employee information (including information implicating
22
     privacy rights of third parties), other client or customer information (including
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     information implicating privacy rights of third parties), confidential business or
24
     financial information, information regarding confidential business practices, or
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     other confidential research, development, or commercial information otherwise
26
     generally unavailable to the public, or which may be privileged or otherwise
27
     protected from disclosure under state or federal statutes, court rules, case
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 1   decisions, or common law. Accordingly, to expedite the flow of information, to
 2   facilitate the prompt resolution of disputes over confidentiality of discovery
 3   materials, to adequately protect information the parties are entitled to keep
 4   confidential, to ensure that the parties are permitted reasonable necessary uses of
 5   such material in preparation for and in the conduct of trial, to address their
 6   handling at the end of the litigation, and serve the ends of justice, a protective
 7   order for such information is justified in this matter. It is the intent of the parties
 8   that information will not be designated as confidential for tactical reasons and that
 9   nothing be so designated without a good faith belief that it has been maintained in
10   a confidential, non-public manner, and there is good cause why it should not be
11   part of the public record of this case.
12         3.     ACKNOWLEDGMENT OF UNDER SEAL FILING
13                PROCEDURE
14         The parties further acknowledge, as set forth in Section 14.3, below, that
15   this Stipulated Protective Order does not entitle them to file confidential
16   information under seal; Local Civil Rule 79-5 sets forth the procedures that must
17   be followed and the standards that will be applied when a party seeks permission
18
     from the court to file material under seal. There is a strong presumption that the
19
     public has a right of access to judicial proceedings and records in civil cases. In
20
     connection with non-dispositive motions, good cause must be shown to support a
21
     filing under seal. See Kamakana v. City and County of Honolulu, 447 F.3d 1172,
22
     1176 (9th Cir. 2006), Phillips v. Gen. Motors Corp., 307 F.3d 1206, 1210-11 (9th Cir.
23
     2002), Makar-Welbon v. Sony Electrics, Inc., 187 F.R.D. 576, 577 (E.D. Wis. 1999)
24
     (even stipulated protective orders require good cause showing), and a specific
25
     showing of good cause or compelling reasons with proper evidentiary support and
26
     legal justification, must be made with respect to Protected Material that a party
27
     seeks to file under seal. The parties’ mere designation of Disclosure or Discovery
28


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 1   Material as CONFIDENTIAL does not—without the submission of competent
 2   evidence by declaration, establishing that the material sought to be filed under
 3   seal qualifies as confidential, privileged, or otherwise protectable—constitute good
 4   cause.
 5         Further, if a party requests sealing related to a dispositive motion or trial,
 6   then compelling reasons, not only good cause, for the sealing must be shown, and
 7   the relief sought shall be narrowly tailored to serve the specific interest to be
 8   protected. See Pintos v. Pacific Creditors Ass’n., 605 F.3d 665, 677-79 (9th Cir.
 9   2010). For each item or type of information, document, or thing sought to be
10   filed or introduced under seal, the party seeking protection must articulate
11   compelling reasons, supported by specific facts and legal justification, for the
12   requested sealing order. Again, competent evidence supporting the application to
13   file documents under seal must be provided by declaration.
14         Any document that is not confidential, privileged, or otherwise protectable
15   in its entirety will not be filed under seal if the confidential portions can be
16
     redacted. If documents can be redacted, then a redacted version for public
17
     viewing, omitting only the confidential, privileged, or otherwise protectable
18
     portions of the document, shall be filed. Any application that seeks to file
19
     documents under seal in their entirety should include an explanation of why
20
     redaction is not feasible.
21
           4.     DEFINITIONS
22
           4.1    Action: Natalie Lambert v. Uniregistry, Inc. and Sevan Derderian, Case
23
     No. 8:18-cv-01566-JLS-JDE (Central Dist. CA).
24
           4.2    Challenging Party: a Party or Non-Party that challenges the
25
     designation of information or items under this Order.
26
           4.3    “CONFIDENTIAL” Information or Items: information (regardless
27
     of how it is generated, stored or maintained) or tangible things that qualify for
28


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 1   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
 2   the Good Cause Statement.
 3         4.4    Counsel: Outside Counsel of Record and House Counsel (as well as
 4   their support staff).
 5         4.5    Designating Party: a Party or Non-Party that designates information
 6   or items that it produces in disclosures or in responses to discovery as
 7   “CONFIDENTIAL.”
 8         4.6    Disclosure or Discovery Material: all items or information, regardless
 9   of the medium or manner in which it is generated, stored, or maintained
10   (including, among other things, testimony, transcripts, and tangible things), that
11   are produced or generated in disclosures or responses to discovery.
12         4.7    Expert: a person with specialized knowledge or experience in a
13   matter pertinent to the litigation who has been retained by a Party or its counsel to
14   serve as an expert witness or as a consultant in this Action.
15         4.8    House Counsel: attorneys who are or were employees of a party to
16   this Action. House Counsel does not include Outside Counsel of Record or any
17   other outside counsel.
18
           4.9    Non-Party: any natural person, partnership, corporation, association
19
     or other legal entity not named as a Party to this action.
20
           4.10 Outside Counsel of Record: attorneys who are not employees of a
21
     party to this Action but are retained to represent a party to this Action and have
22
     appeared in this Action on behalf of that party or are affiliated with a law firm
23
     that has appeared on behalf of that party, and includes support staff.
24
           4.11 Party: any party to this Action, including all of its officers, directors,
25
     employees, consultants, retained experts, and Outside Counsel of Record (and
26
     their support staffs).
27
           4.12 Producing Party: a Party or Non-Party that produces Disclosure or
28


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 1   Discovery Material in this Action.
 2         4.13 Professional Vendors: persons or entities that provide litigation
 3   support services (e.g., photocopying, videotaping, translating, preparing exhibits
 4   or demonstrations, and organizing, storing, or retrieving data in any form or
 5   medium) and their employees and subcontractors.
 6         4.14 Protected Material: any Disclosure or Discovery Material that is
 7   designated as “CONFIDENTIAL.”
 8         4.15   Receiving Party: a Party that receives Disclosure or Discovery
 9   Material from a Producing Party.
10         5.     SCOPE
11         The protections conferred by this Stipulation and Order cover not only
12   Protected Material (as defined above), but also (1) any information copied or
13   extracted from Protected Material; (2) all copies, excerpts, summaries, or
14   compilations of Protected Material; and (3) any testimony, conversations, or
15   presentations by Parties or their Counsel that might reveal Protected Material.
16         Any use of Protected Material at trial shall be governed by the orders of the
17   trial judge and other applicable authorities. This Order does not govern the use of
18
     Protected Material at trial.
19
           6.     DURATION
20
           Once a case proceeds to trial, information that was designated as
21
     CONFIDENTIAL or maintained pursuant to this protective order used or
22
     introduced as an exhibit at trial becomes public and will be presumptively
23
     available to all members of the public, including the press, unless compelling
24
     reasons supported by specific factual findings to proceed otherwise are made to
25
     the trial judge in advance of the trial. See Kamakana, 447 F.3d at 1180-81
26
     (distinguishing “good cause” showing for sealing documents produced in
27
     discovery from “compelling reasons” standard when merits-related documents are
28


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 1   part of court record). Accordingly, the terms of this protective order do not extend
 2   beyond the commencement of the trial.
 3         7.    DESIGNATING PROTECTED MATERIAL
 4         7.1   Exercise of Restraint and Care in Designating Material for
 5   Protection. Each Party or Non-Party that designates information or items for
 6   protection under this Order must take care to limit any such designation to
 7   specific material that qualifies under the appropriate standards. The Designating
 8   Party must designate for protection only those parts of material, documents, items
 9   or oral or written communications that qualify so that other portions of the
10   material, documents, items or communications for which protection is not
11   warranted are not swept unjustifiably within the ambit of this Order.
12         Mass, indiscriminate or routinized designations are prohibited.
13   Designations that are shown to be clearly unjustified or that have been made for
14   an improper purpose (e.g., to unnecessarily encumber the case development
15   process or to impose unnecessary expenses and burdens on other parties) may
16   expose the Designating Party to sanctions.
17         If it comes to a Designating Party’s attention that information or items that
18
     it designated for protection do not qualify for protection, that Designating Party
19
     must promptly notify all other Parties that it is withdrawing the inapplicable
20
     designation.
21
           7.2   Manner and Timing of Designations. Except as otherwise provided
22
     in this Order, or as otherwise stipulated or ordered, Disclosure of Discovery
23
     Material that qualifies for protection under this Order must be clearly so
24
     designated before the material is disclosed or produced.
25
           Designation in conformity with this Order requires:
26
                 (a) for information in documentary form (e.g., paper or electronic
27
     documents, but excluding transcripts of depositions or other pretrial or trial
28


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 1   proceedings), that the Producing Party affix at a minimum, the legend
 2   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
 3   contains protected material. If only a portion of the material on a page qualifies
 4   for protection, the Producing Party also must clearly identify the protected
 5   portion(s) (e.g., by making appropriate markings in the margins).
 6         A Party or Non-Party that makes original documents available for
 7   inspection need not designate them for protection until after the inspecting Party
 8   has indicated which documents it would like copied and produced. During the
 9   inspection and before the designation, all of the material made available for
10   inspection shall be deemed “CONFIDENTIAL.” After the inspecting Party has
11   identified the documents it wants copied and produced, the Producing Party must
12   determine which documents, or portions thereof, qualify for protection under this
13   Order. Then, before producing the specified documents, the Producing Party
14   must affix the “CONFIDENTIAL legend” to each page that contains Protected
15   Material. If only a portion of the material on a page qualifies for protection, the
16   Producing Party also must clearly identify the protected portion(s) (e.g., by
17   making appropriate markings in the margins).
18
                 (b) for testimony given in depositions that the Designating Party
19
     identifies the Disclosure or Discovery Material on the record, before the close of
20
     the deposition all protected testimony.
21
                 (c) for information produced in some form other than documentary
22
     and for any other tangible items, that the Producing Party affix in a prominent
23
     place on the exterior of the container or containers in which the information is
24
     stored the legend “CONFIDENTIAL.” If only a portion or portions of the
25
     information warrants protection, the Producing Party, to the extent practicable,
26
     shall identify the protected portion(s).
27
           7.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent
28


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 1   failure to designate qualified information or items does not, standing alone, waive
 2   the Designating Party’s right to secure protection under this Order for such
 3   material. Upon timely correction of a designation, the Receiving Party must
 4   make reasonable efforts to assure that the material is treated in accordance with
 5   the provisions of this Order.
 6         8.     CHALLENGING CONFIDENTIALITY DESIGNATIONS
 7         8.1. Timing of Challenges. Any Party or Non-Party may challenge a
 8   designation of confidentiality at any time that is consistent with the Court’s
 9   Scheduling Order.
10         8.2    Meet and Confer. The Challenging Party shall initiate the dispute
11   resolution process under Local Rule 37-1 et seq.
12         8.3    Joint Stipulation. Any challenge submitted to the Court shall be via a
13   joint stipulation pursuant to Local Rule 37-2.
14         8.4    The burden of persuasion in any such challenge proceeding shall be
15   on the Designating Party. Frivolous challenges, and those made for an improper
16   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
17   parties) may expose the Challenging Party to sanctions. Unless the Designating
18
     Party has waived or withdrawn the confidentiality designation, all parties shall
19
     continue to afford the material in question the level of protection to which it is
20
     entitled under the Producing Party’s designation until the Court rules on the
21
     challenge.
22
           9.     ACCESS TO AND USE OF PROTECTED MATERIAL
23
           9.1    Basic Principles. A Receiving Party may use Protected Material that
24
     is disclosed or produced by another Party or by a Non-Party in connection with
25
     this Action only for prosecuting, defending or attempting to settle this Action.
26
     Such Protected Material may be disclosed only to the categories of persons and
27
     under the conditions described in this Order. When the Action has been
28


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 1   terminated, a Receiving Party must comply with the provisions of section 15
 2   below (FINAL DISPOSITION).
 3         Protected Material must be stored and maintained by a Receiving Party at a
 4   location and in a secure manner that ensures that access is limited to the persons
 5   authorized under this Order.
 6         9.2   Disclosure of “CONFIDENTIAL” Information or Items. Unless
 7   otherwise ordered by the court or permitted in writing by the Designating Party, a
 8   Receiving Party may disclose any information or item designated
 9   “CONFIDENTIAL” only to:
10               (a) the Receiving Party’s Outside Counsel of Record in this Action, as
11   well as employees of said Outside Counsel of Record to whom it is reasonably
12   necessary to disclose the information for this Action;
13               (b) the officers, directors, employees and former employees (including
14   House Counsel) of the Receiving Party to whom disclosure is reasonably
15   necessary for this Action;
16               (c) Experts (as defined in this Order) of the Receiving Party to whom
17   disclosure is reasonably necessary for this Action and who have signed the
18
     “Acknowledgment and Agreement to Be Bound” (Exhibit A);
19
                 (d) the court and its personnel;
20
                 (e) court reporters and their staff;
21
                 (f) professional jury or trial consultants, mock jurors, and Professional
22
     Vendors to whom disclosure is reasonably necessary for this Action and who have
23
     signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
24
                 (g) the author or recipient of a document containing the information
25
     or a custodian or other person who otherwise possessed or knew the information;
26
                 (h) during their depositions, witnesses, and attorneys for witnesses, in
27
     the Action to whom disclosure is reasonably necessary provided: (1) the deposing
28


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 1   party requests that the witness sign the form attached as Exhibit A hereto; and (2)
 2   they will not be permitted to keep any confidential information unless they sign
 3   the “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless
 4   otherwise agreed by the Designating Party or ordered by the court. Pages of
 5   transcribed deposition testimony or exhibits to depositions that reveal Protected
 6   Material may be separately bound by the court reporter and may not be disclosed
 7   to anyone except as permitted under this Stipulated Protective Order; and
 8                  (i) any mediators or settlement officers and their supporting
 9   personnel, mutually agreed upon by any of the parties engaged in settlement
10   discussions.
11         10.      PROTECTED MATERIAL SUBPOENAED OR ORDERED
12                  PRODUCED IN OTHER LITIGATION
13         If a Party is served with a subpoena or a court order issued in other
14   litigation that compels disclosure of any information or items designated in this
15   Action as “CONFIDENTIAL,” that Party must:
16                  (a) promptly notify in writing the Designating Party. Such
17   notification shall include a copy of the subpoena or court order;
18
                    (b) promptly notify in writing the party who caused the subpoena or
19
     order to issue in the other litigation that some or all of the material covered by the
20
     subpoena or order is subject to this Protective Order. Such notification shall
21
     include a copy of this Stipulated Protective Order; and
22
                    (c) cooperate with respect to all reasonable procedures sought to be
23
     pursued by the Designating Party whose Protected Material may be affected. If
24
     the Designating Party timely seeks a protective order, the Party served with the
25
     subpoena or court order shall not produce any information designated in this
26
     action as “CONFIDENTIAL” before a determination by the court from which
27
     the subpoena or order issued, unless the Party has obtained the Designating
28


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 1   Party’s permission. The Designating Party shall bear the burden and expense of
 2   seeking protection in that court of its confidential material and nothing in these
 3   provisions should be construed as authorizing or encouraging a Receiving Party
 4   in this Action to disobey a lawful directive from another court.
 5         11.   A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO
 6               BE PRODUCED IN THIS LITIGATION

 7               (a) The terms of this Order are applicable to information produced by
 8   a Non-Party in this Action and designated as “CONFIDENTIAL.” Such
 9   information produced by Non-Parties in connection with this litigation is
10   protected by the remedies and relief provided by this Order. Nothing in these
11   provisions should be construed as prohibiting a Non-Party from seeking
12   additional protections.
13               (b) In the event that a Party is required, by a valid discovery request,
14   to produce a Non-Party’s confidential information in its possession, and the Party
15   is subject to an agreement with the Non-Party not to produce the Non-Party’s
16   confidential information, then the Party shall:
17                  (1) promptly notify in writing the Requesting Party and the Non-
18
     Party that some or all of the information requested is subject to a confidentiality
19
     agreement with a Non-Party;
20
                    (2) promptly provide the Non-Party with a copy of the Stipulated
21
     Protective Order in this Action, the relevant discovery request(s), and a
22
     reasonably specific description of the information requested; and
23
                    (3) make the information requested available for inspection by the
24
     Non-Party, if requested.
25
                 (c) If the Non-Party fails to seek a protective order from this court
26
     within 14 days of receiving the notice and accompanying information, the
27
     Receiving Party may produce the Non-Party’s confidential information
28


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 1   responsive to the discovery request. If the Non-Party timely seeks a protective
 2   order, the Receiving Party shall not produce any information in its possession or
 3   control that is subject to the confidentiality agreement with the Non-Party before
 4   a determination by the court. Absent a court order to the contrary, the Non-Party
 5   shall bear the burden and expense of seeking protection in this court of its
 6   Protected Material.
 7         12.   UNAUTHORIZED DISCLOSURE OF PROTECTED
 8               MATERIAL

 9         If a Receiving Party learns that, by inadvertence or otherwise, it has
10   disclosed Protected Material to any person or in any circumstance not authorized
11   under this Stipulated Protective Order, the Receiving Party must immediately (a)
12   notify in writing the Designating Party of the unauthorized disclosures, (b) use its
13   best efforts to retrieve all unauthorized copies of the Protected Material, (c)
14   inform the person or persons to whom unauthorized disclosures were made of all
15   the terms of this Order, and (d) request such person or persons to execute the
16   “Acknowledgment an Agreement to Be Bound” attached hereto as Exhibit A.
17         13.   INADVERTENT PRODUCTION OF PRIVILEGED OR
18               OTHERWISE PROTECTED MATERIAL
19
           When a Producing Party gives notice to Receiving Parties that certain
20
     inadvertently produced material is subject to a claim of privilege or other
21
     protection, the obligations of the Receiving Parties are those set forth in Federal
22
     Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
23
     whatever procedure may be established in an e-discovery order that provides for
24
     production without prior privilege review. Pursuant to Federal Rule of Evidence
25
     502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure
26
     of a communication or information covered by the attorney-client privilege or
27
     work product protection, the parties may incorporate their agreement in the
28


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 1   stipulated protective order submitted to the court.
 2         14.   MISCELLANEOUS
 3         14.1 Right to Further Relief. Nothing in this Order abridges the right of
 4   any person to seek its modification by the Court in the future.
 5         14.2 Right to Assert Other Objections. By stipulating to the entry of this
 6   Protective Order, no Party waives any right it otherwise would have to object to
 7   disclosing or producing any information or item on any ground not addressed in
 8   this Stipulated Protective Order. Similarly, no Party waives any right to object on
 9   any ground to use in evidence of any of the material covered by this Protective
10   Order.
11         14.3 Filing Protected Material. A Party that seeks to file under seal any
12   Protected Material must comply with Local Civil Rule 79-5. Protected Material
13   may only be filed under seal pursuant to a court order authorizing the sealing of
14   the specific Protected Material. If a Party’s request to file Protected Material
15   under seal is denied by the court, then the Receiving Party may file the
16   information in the public record unless otherwise instructed by the court.
17         15.   FINAL DISPOSITION
18
           After the final disposition of this Action, as defined in paragraph 6, within
19
     60 days of a written request by the Designating Party, each Receiving Party must
20
     return all Protected Material to the Producing Party or destroy such material. As
21
     used in this subdivision, “all Protected Material” includes all copies, abstracts,
22
     compilations, summaries, and any other format reproducing or capturing any of
23
     the Protected Material. Notwithstanding this provision, Counsel are entitled to
24
     retain an archival copy of all pleadings, motion papers, trial, deposition, and
25
     hearing transcripts, legal memoranda, correspondence, deposition and trial
26
     exhibits, expert reports, attorney work product, and consultant and expert work
27
     product, even if such materials contain Protected Material. Any such archival
28


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 1   copies that contain or constitute Protected Material remain subject to this
 2   Protective Order as set forth in Section 6 (DURATION).
 3         16.   VIOLATION
 4         Any violation of this Order may be punished by appropriate measures
 5   including, without limitation, contempt proceedings and/or monetary sanctions.
 6

 7
           IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 8

 9   Dated: March 12, 2019
10
                                          /s/ William M. Crosby
11                                        William M. Crosby
                                          Attorneys for Plaintiff
12                                        NATALIE LAMBERT
13

14   Dated: March 12, 2019          DUANE MORRIS LLP
15

16
                                    By:   /s/ Allegra A. Jones
17                                        Lorraine P. Ocheltree
18
                                          Allegra A. Jones
                                          Brooke B. Tabshouri
19
                                          Attorneys for Defendants
                                          UNIREGISTRY, INC. and SEVAN
20
                                          DERDERIAN

21
           IT IS SO ORDERED.
22

23
     Dated: March 14, 2019
24

25

26                                        JOHN D. EARLY
27
                                          United States Magistrate Judge

28


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 1                                          Exhibit A
 2
                       Acknowledgment and Agreement to Be Bound
 3
           I, _____________________________ [print or type full name], of
 4
           _______________________________________ [print or type full address],
 5
     declare under penalty of perjury that I have read in its entirety and understand the
 6
     Stipulated Protective Order that was issued by the United States District Court for
 7
     the Central District of California in the case of Natalie Lambert v. Uniregistry, Inc.
 8

 9
     and Sevan Derderian, Case No. 8:18-cv-01566-JLS-JDE. I agree to comply with

10
     and to be bound by all the terms of this Stipulated Protective Order and I

11   understand and acknowledge that failure to so comply could expose me to

12   sanctions and punishment in the nature of contempt. I solemnly promise that I

13   will not disclose in any manner any information or item that is subject to this

14   Stipulated Protective Order to any person or entity except in strict compliance

15   with the provisions of this Stipulated Protective Order.

16         I further agree to submit to the jurisdiction of the United States District

17   Court for the Central District of California for the purpose of enforcing the terms

18   of this Stipulated Protective Order, even if such enforcement proceedings occur

19   after termination of this action.

20         I hereby appoint __________________________ [print or type full name] of
21   _______________________________________ [print or type full address and
22   telephone number] as my California agent for service of process in connection
23   with this action or any proceedings related to enforcement of this Stipulated
24   Protective Order.
25         Date: ______________________________________
26         City and State where sworn and signed: ______________________________
27         Printed name: _______________________________
28         Signature: __________________________________


      STIPULATION AND PROTECTIVE ORDER                           CASE NO. 8:18-cv-01566-JLS-JDE
